




 










&nbsp;

IN THE

TENTH COURT OF APPEALS

&nbsp;




 
  
 
 
  
  
 


&nbsp;

&nbsp;



No. 10-06-00266-CV

&nbsp;

In re
Trend Gathering &amp; Treating, LP

&nbsp;

&nbsp;



Original Proceeding

&nbsp;

&nbsp;



MEMORANDUM&nbsp; Opinion



&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The petition for writ of mandamus is
denied, and the order granting Relator’s motion for temporary relief is vacated.

PER CURIAM

&nbsp;

Before Chief Justice
Gray,

Justice
Vance, and

Justice
Reyna

(Chief
Justice Gray dissents without a separate opinion)

Petition denied

Opinion delivered and
filed September 20, 2006

[OT06]





